
Terry Louis Carter
Attorney General/Carson City
Koeller Nebeker Carlson &amp; Haluck, LLP/Las Vegas
Dept of Business and Industry/Div of Industrial Relations/Henderson
Mark O. Reed
ORDER DISMISSING APPEAL
This pro se appeal was docketed in this court on August 24, 2017, without payment of the requisite filing fee. The district court's February 6, 2018, order denying appellant's motion to proceed in forma pauperis was filed in this court on February 7, 2018. On February 16, 2018, this court entered an order directing appellant to pay the filing fee within 30 days or file a motion to proceed in forma pauperis. Further, the order cautioned appellant that failure to pay the filing fee or file the motion would result in dismissal of this appeal. To date, appellant has not paid the filing fee or otherwise responded to this court's order. Accordingly, cause appearing, this appeal is hereby dismissed.
It is so ORDERED.
